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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                      )
NOVENERGIA II – ENERGY &                              )
ENVIRONMENT (SCA),                                    )
                                                      )
                                                      )
                       Petitioner,                    )
                                                      )    Civil Action No. 1:18-cv-1148 (TSC)
                v.                                    )
                                                      )
THE KINGDOM OF SPAIN,                                 )
                                                      )
                                                      )
                       Respondent.                    )
                                                      )


           JOINT STATUS REPORT REGARDING SET-ASIDE PROCEEDINGS
                    PENDING IN THE SVEA COURT OF APPEAL

         Pursuant to the Court’s Order dated January 27, 2020, Petitioner Novenergia II – Energy

& Environment (SCA) (“Novenergia”) and Respondent the Kingdom of Spain (“Spain”) submit

this joint status report regarding the proceedings pending before the Svea Court of Appeal (“Svea

Court”) to set aside the arbitral award (the “Award”) at issue in this case.

         1. On April 8, 2020, Novenergia submitted its observations on the European

Commission’s request to the Svea Court and its brief replying to Spain’s December 18, 2018

brief.




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Dated: May 4, 2020                             Respectfully submitted,

NOVENERGIA II – ENERGY &                       KINGDOM OF SPAIN
ENVIRONMENT (SCA)

By its attorneys,                              By its attorneys,

LATHAM & WATKINS LLP                           FOLEY HOAG LLP


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                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 4, 2020, I caused a true and correct copy of the foregoing to

be filed with the Clerk of the Court using the ECF system and thereby served upon all counsel of

record.


                                                /s/ Claudia T. Salomon
                                                Claudia T. Salomon




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